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 1    E. MARTIN ESTRADA
      United States Attorney
 2    DAVID M. HARRIS
      Assistant United States Attorney
 3    Chief, Civil Division
      JOANNE S. OSINOFF
 4    Assistant United States Attorney
      Chief, Complex and Defensive Litigation Section
 5    SHAINA C. ST JOHN (Cal. Bar No. 292643)
      Assistant United States Attorney
 6          Federal Building, Suite 7516
            300 North Los Angeles Street
 7          Los Angeles, California 90012
            Telephone: (213) 894-2933
 8          Facsimile: (213) 894-7819
            E-mail: Shaina.StJohn@usdoj.gov
 9
      Attorneys for Defendant
10    the United States of America
11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                     EASTERN DIVISION
14
   Martin VARGAS, as Successor in                No. 5:23-cv-00380-JWH-SP
15 Interest of the Estate of Martin Vargas
   Arellano,                                     THE UNITED STATES OF
16                                               AMERICA’S NOTICE OF MOTION
                 Plaintiff,                      AND MOTION TO DISMISS
17
                        v.                       [Memorandum of points and authorities,
18                                               supporting declarations, and proposed order
   UNITED STATES OF AMERICA;                     filed concurrently]
19 THE GEO GROUP; and WELLPATH,
   LLC,                                          Hearing Date:    August 25, 2023
20                                               Hearing Time:    9:00 a.m.
                 Defendants.                     Ctrm:            9D
21
                                                 Honorable John W. Holcomb
22                                               United States District Judge
23
24
25
26
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28
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1                     NOTICE OF MOTION AND MOTION TO DISMISS
2           PLEASE TAKE NOTICE that, on August 25, 2023 at 9:00 a.m., as soon thereafter
3     as they may be heard, Defendant the United States of America (the “United States”) will,
4     and hereby does, move this Court for an order dismissing with prejudice the claims
5     asserted by the First Amended Complaint against the United States. This motion will be
6     made before the Honorable John W. Holcomb, United States District Magistrate Judge,
7     in the Ronald Reagan Federal Building and Courthouse located at 411 West Fourth
8     Street, Santa Ana, CA 92701.
9           The United States moves pursuant to Federal Rules of Civil Procedure 12(b)(1)
10    and 12(b)(6) to dismiss the Plaintiff’s claims against the United States, which are all
11    asserted under the Federal Tort Claims Act (FTCA), on the following grounds:
12          1. Plaintiff’s negligence, negligent infliction of emotional distress (“NIED”), and
13             intentional infliction of emotional distress (“IIED”) claims based on the care
14             and safekeeping of Martin Vargas Arellano (“Arellano”) at the Adelanto
15             detention facility are barred by the contractor exclusion to FTCA liability. 28
16             U.S.C. § 2671.
17          2. Plaintiff’s negligence, NIED, and IIED claims based on the United States’
18             oversight of defendant the GEO Group, Inc., and Wellpath, LLC, and provision
19             of the Adelanto detention facility are barred by the discretionary-function
20             exception to FTCA liability. 28 U.S.C. § 2680(a).
21          3. Plaintiff’s negligence, NIED, IIED, and false imprisonment claims based on
22             Arellano’s continued detention by the government pending removal fail to state
23             a claim upon which relief may be granted and are barred by the discretionary-
24             function exception.
25          4. Plaintiff’s negligence, NIED, and IIED claims based on the United States’
26             alleged failure to communicate with Arellano’s legal representative regarding
27             Arellano fail to state a claim upon which relief may be granted.
28          5. Plaintiff’s wrongful death claim fails because it is derivative of Plaintiff’s other
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1              failed claims. Cal. Civ. Proc. Code § 377.60.
2           This motion is made upon this Notice, the attached Memorandum of Points and
3     Authorities, the attached supporting declarations, and all pleadings, records, and other
4     documents on file with the Court in this action, and upon such oral argument as may be
5     presented at the hearing of this motion.
6           This motion is made following the conference of counsel for the United States and
7     Plaintiff pursuant to Local Rule 7-3 which occurred on June 5, 2023.
8
9      Dated: June 29, 2023                  Respectfully submitted,
10                                           E. MARTIN ESTRADA
                                             United States Attorney
11                                           DAVID M. HARRIS
                                             Assistant United States Attorney
12                                           Chief, Civil Division
                                             JOANNE S. OSINOFF
13                                           Assistant United States Attorney
                                             Chief, Complex and Defensive Litigation Section
14
15                                              /s/ Shaina C. St John
                                             SHAINA C. ST JOHN
16                                           Assistant United States Attorney
17                                           Attorneys for Defendant
                                             the United States of America
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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2     I.    INTRODUCTION
3           This case arises from the death of Martin Vargas Arellano, an immigration
4     detainee who was housed at the Adelanto ICE Processing Center (“Adelanto”).
5     Arellano’s son, Plaintiff Martin Vargas (“Plaintiff”), brings this suit as the asserted
6     successor-in-interest of Arellano’s estate. Adelanto is a detention center owned and
7     operated by defendant GEO Group. GEO subcontracted with defendant Wellpath, LLC
8     to provide medical services to Adelanto detainees until mid-October 2021. See
9     Declaration of Daniel Pomplun (“Pomplun Decl.”) ¶¶ 2, 5, 7, 9-10, 12 & Exs. A-C.
10    Plaintiff has sued GEO and Wellpath, blaming them for his father’s March 2021 death
11    from COVID-19 complications.
12          In addition, however, Plaintiff also has sued the United States, seeking to hold it
13    liable for Arellano’s death pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C
14    §§ 1346(b), 2671–80. Because Plaintiff’s First Amended Complaint (“FAC”) [Dkt. 39]
15    fails to plead actionable claims against the United States for negligence, negligent
16    infliction of emotional distress (“NIED”), intentional infliction of emotional distress
17    (“IIED”), false arrest/imprisonment, and wrongful death, those claims must be
18    dismissed, leaving Plaintiff’s claims against GEO and Wellpath to proceed in this
19    lawsuit.
20          Plaintiff’s first liability theory challenges the quality of Arellano’s medical care at
21    Adelanto, alleging that it was defective. But at all times while he was detained, he was
22    under the direct care and control of GEO and Wellpath pursuant to a subcontract
23    between GEO and the City of Adelanto (April 2019-June 2019),1 a contract between
24    GEO and the United States (June 2019-present), and a subcontract between GEO and
25    Wellpath. Because the FTCA’s waiver of sovereign immunity does not permit the United
26    States to be held liable for the acts or omissions of its contractors or sub-contractors,
27
            1
28           ICE contracted with the City of Adelanto for the management and operation of
      Adelanto and the City, in turn, subcontracted with GEO. See Pomplun Decl. ¶ 2.
                                                  1
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1      Plaintiff’s claims against the United States based on allegedly deficient medical care
2      must be dismissed for lack of subject matter jurisdiction. See 28 U.S.C. § 2671.
3            Plaintiff’s second theory against the United States is that it negligently oversaw
4      the operations of GEO and Wellpath, and failed to select detention facilities sufficient to
5      meet Arellano’s unique medical needs. The Court does not have jurisdiction over
6      Plaintiff’s claims challenging the United States’ oversight of GEO and selection of
7      Adelanto because those decisions squarely fall within the discretionary function
8      exception to FTCA liability. 28 U.S.C. § 2680(a). Courts have been clear that the
9      selection and monitoring of local detention facilities involves such discretionary
10     judgment. Accordingly, Plaintiff’s claims based on the United States’ exercise of
11     discretionary judgment in selecting GEO and contracting for detention at its Adelanto
12     facility must be dismissed.
13           Plaintiffs’ third theory against the United States is that Arellano was wrongfully
14     detained and should have been released. But Plaintiff’s allegations likewise fail as a
15     matter of law. Arellano’s detention pending his removal was mandatory because he was
16     a removable alien with a long criminal history, including convictions for possession of
17     controlled substances and domestic violence. See 8 U.S.C. § 1226(c). The only order
18     providing for his release was judicially stayed because Arellano became a member of the
19     mandatory class in Roman v. Wolf, 5:20-cv-00768-TJH-PVC, addressing COVID-19
20     conditions at Adelanto. Thus, Plaintiff’s claims based on Arellano’s continued detention
21     fail. Moreover, if the United States had retained discretion over whether to release
22     Arellano, the discretionary function exception bars claims that contest the exercise of
23     such discretion. 28 U.S.C. § 2680(a).
24           Plaintiff’s fourth theory is a novel attempt to found negligence, NIED, and IIED
25     tort claims on the United States’ failure to communicate with Arellano’s designated
26     representative about his declining health before his death. Plaintiff fails to identify a duty
27     under California tort law that would make a private person liable for negligence under
28     these circumstances—there is no general obligation to inform third parties, and indeed
                                                     2
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1      even if there were, Arellano was under the direct medical care of GEO and Wellpath, not
2      the United States. Thus, any alleged failure to communicate about Arellano’s medical
3      condition or hospitalization cannot state a valid tort claim against the United States.
4      Plaintiff also fails to state a cognizable IIED claim because Arellano was not emotionally
5      distressed by a failure to communicate about his death. Plaintiff’s NIED claim likewise
6      fails because Plaintiff does not allege he witnessed the wrongs at the time they were
7      occurring (as California law requires for NIED claims).
8            Fifth and finally, because Plaintiff’s wrongful death claim is premised on
9      Plaintiff’s other defective tort claims, it fails. Moreover, Plaintiff lacks standing. Cal.
10     Civ. Proc. Code § 377.60.
11           Accordingly, Plaintiff’s claims against the United States are defective.
12     Furthermore, because Plaintiff cannot resolve the jurisdictional defects by amendment,
13     the FAC should be dismissed with prejudice as to the United States, leaving GEO and
14     Wellpath as the defendants in the lawsuit.
15     II.   FACTUAL AND PROCEDURAL BACKGROUND
16           A.     April 2019 – April 2020: Arellano’s Detention, Ordered Release, Stay
17                  of That Release, and Stay of His Habeas Petition
18           In April 2019, following his arrest and incarceration for failure to register as a sex
19     offender, ICE took Arellano into mandatory detention based on his long criminal history,
20     including convictions for possession of controlled substances and domestic violence. See
21     Dkt. 39 [FAC] ¶ 63; Declaration of Gil O. Montes (“Montes Decl.”), ¶¶ 9-12 & Ex. D; 8
22     U.S.C. §§ 1226(c)(10); INA §§ 212(a)(2), 236(c)(1)(A), 236(c)(1)(B),
23     237(a)(2)(A)(iii)(F).
24           On March 30, 2020, Arellano and several other detainees filed a habeas petition in
25     the Central District of California, Vargas Arellano v. Wolf, No. 5:20-cv-00813-TJH-JEM
26     (“Arellano Habeas Petition”). On April 2, 2020, this Court issued an order [Arellano
27     Habeas Petition Dkt. 35] granting Arellano’s motion for a TRO and requiring that he be
28     released to the Echo Park Community Center on April 3, 2020. On April 3, 2020,
                                                      3
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1      however, Arellano’s counsel informed the Court that there was no space for Arellano at
2      that location. Accordingly, this Court issued an “ORDER STAYING RELEASE” on
3      April 3, 2020 [Arellano Habeas Petition Dkt. 41] providing that because “there [wa]s no
4      longer space available for [him] at the” identified post-release location, the Court stayed
5      the TRO and ordered that Arellano “shall not be released until the Court approves his
6      new post-release plan.” (emphasis added).
7            On April 13, April 15, and April 22, 2020, Arellano’s counsel filed supplemental
8      declarations relating to his TRO application. [Arellano Habeas Petition Dkts. 46, 58, 65].
9      His counsel did not move to lift the TRO stay, however, and the Court did not approve a
10     new post-release plan.
11           On April 23, 2020, the Court provisionally certified a class action for Adelanto
12     detainees seeking release due to COVID-19 risk in the case of Hernandez Roman v.
13     Wolf, No. 5:20-cv-00768-TJH-PVC (“Roman”). See Roman Dkt. 52. The Court also
14     issued a preliminary injunction requiring various COVID-19 control measures to be
15     implemented at Adelanto. See Roman Dkt. 55. On April 27, 2020, the Court issued a
16     Stay Order providing that Arellano’s individual habeas petition was stayed because he
17     was “a member of the provisionally certified class in Roman” and “[a]s a class action
18     certified under Fed. R. Civ. P. 23(b)(2), Roman is a mandatory, no opt out class action.”2
19     Arellano Habeas Petition, Dkt. 67.
20           On May 8, 2020, Arellano’s counsel asked to lift that stay. Arellano Habeas
21     Petition Dkt. 68. On June 2, 2020, however, the Court denied Arellano’s request to lift
22     the stay. Arellano Habeas Petition Dkt. 73. No further request to lift the stay was filed.
23     Arellano remained subject to the same procedures for seeking relief (including individual
24     release) via the Roman case that applied for all Adelanto detainees.
25
26     2
         The Stay Order provided that “pursuant to the Preliminary Injunction issued in Roman,
27     Petitioner shall remain released pending a final resolution of Roman or further order of
       the Court.” Petitioner had not been released, however, because the Court’s prior order
28     [Arellano Habeas Petition Dkt. 41] had barred that until the Court approved a new
       release plan for him, which it never did.
                                                    4
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1            B.     April 2020 – Present: Judicial Oversight of Adelanto in the Roman
2                   Class Action
3            On April 23, 2020, as discussed above, the Court issued a preliminary injunction
4      compelling the reduction of the population at Adelanto, a status report to be filed daily,
5      and many additional conditions. See Roman Dkt. 55; FAC ¶ 35.
6            On September 29, 2020, the Court issued a modified preliminary injunction order
7      which required the government to file an Adelanto population reduction plan, refuse any
8      new or transfer detainees, test detainees weekly for COVID-19, file a weekly census of
9      Adelanto detainees, stop using certain disinfectants, implement social distancing and
10     mask requirements for detainees, staff, and visitors, and provide cleaning supplies and
11     assistance to those requiring aid. See Roman v. Wolf, No. EDCV 20-00768 TJH (PVCx),
12     2020 WL 5797918, at *6 (C.D. Cal. Sept. 29, 2020), aff’d in part, vacated in part,
13     remanded, 977 F.3d 935 (9th Cir. 2020).
14           On October 13, 2020, the Ninth Circuit affirmed the preliminary injunction and
15     the population reduction requirement, but vacated certain provisions requiring “specific
16     measures to be implemented at Adelanto” including the requirement “that specific areas
17     be cleaned ‘by a professionally trained cleaning staff,’ rather than by detainees or facility
18     employees with a mix of duties,” cautioning that certain provisions of the preliminary
19     injunction “wade into facility administration at a granular level ….” Roman v. Wolf, 977
20     F.3d 935, 945–46 (9th Cir. 2020).
21           On October 15, 2020, the court ordered the population of Adelanto further reduced
22     to 475 detainees and specified criteria for isolating and quarantining detainees, among
23     other requirements. Roman Dkt. 686, at pp. 13-14. Three of the court’s four criteria for
24     determining which detainees to release required that the detainee not be subject to a
25     mandatory detention order (criteria #1 and #2) or have a felony criminal conviction
26     (criteria #3). See id., p. 10. The court also specified that “[t]he Government shall not
27     release any detainee whose most recent COVID-19 test was positive, who is suspected of
28     being COVID-19 positive, or is in isolation or quarantine housing, until that detainee
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1      tests negative on a subsequent test and is symptom free.” Id., p. 11. The court “allow[ed]
2      Adelanto’s medical staff to weigh the benefits and detriments of each type of testing …
3      and to choose the method of testing that the medical staff deems to be the most
4      appropriate and beneficial” and warned that “[i]f the testing protocols [were] selected by
5      Adelanto’s detention staff [GEO], as opposed to its medical staff [Wellpath], the Court
6      … expect[ed] to hear from the Petitioners-Plaintiffs and/or the Government very
7      quickly.” See id., p. 14 (emphasis in original).
8              C.    March 2021 – Special Master’s Investigation of Arellano’s Death
9              On March 19, 2021, counsel for the Roman Petitioners-Plaintiffs filed a notice of
10     death of class member Martin Vargas Arellano. Roman Dkt. 1030. This Court required
11     the government to file a written response to the notice. Roman Dkt. 1031. After receiving
12     that response, the Court ordered the matter referred to a Special Master for investigation.
13     Roman Dkt. 1039.On July 16, 2021, the Special Master issued his report. Roman Dkt.
14     1220.
15             D.    March 2023 - Present: Plaintiff’s Instant Lawsuit
16             On March 7, 2023, Plaintiff brought claims on behalf of Arellano’s estate against
17     GEO, Wellpath, and the United States for negligence, IIED, and false imprisonment (see
18     Dkt. 1) and amended on May 23, 2023, to add NIED and wrongful death claims by the
19     estate. See Dkt. 39.
20             Plaintiff alleges that the United States was negligent and negligently inflicted
21     emotional distress on Arellano by failing to (1) release Arellano “despite his risk of
22     serious illness or death” or “after he contracted COVID-19;” (2) ”properly oversee
23     facilities and staff;” (3) ”shield [Arellano] from contracting COVID-19;” (4) ”provide
24     facilities and care sufficient to meet [Arellano’s] medical needs;” and (5) “communicate
25     with [Arellano’s] designated representative regarding his illness and transfer to hospital.”
26     FAC ¶¶ 106(a)-(f), 116(a)-(f). Plaintiff largely reasserts the same conclusory allegations
27     in support of his IIED claim, claiming the United States (1) “committed outrageous
28     conduct” by failing to “take steps to shield [Arellano] from contracting COVID-19” or
                                                     6
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1      “release him despite multiple requests” and his health issues; (2) detained Arellano
2      “under conditions in which the facilities and level of care were not adequate to meet his
3      medical needs[;]” and (3) “acted in bad faith by actively concealing the seriousness of
4      [Arellano’s] condition and death from his counsel and ‘releasing’ him on his deathbed
5      ….” Id. ¶¶ 128-130. Plaintiff asserts his false imprisonment claim in a similarly
6      conclusory fashion, alleging that the United States “intentionally imprisoned Plaintiff
7      [SIC] without lawful privilege and without Plaintiff’s [SIC] consent.” Id. ¶ 138.
8      Plaintiff’s wrongful death claim is premised solely on Arellano’s death being a direct
9      and proximate cause of Plaintiff’s other claims. Id. ¶ 166.
10     III.   PLAINTIFF’S CLAIMS AGAINST THE UNITED STATES MUST BE
11            DISMISSED
12            A.    The Contractor Exclusion Bars Plaintiff’s Claims Based on Arellano’s
13                  Care and Safekeeping at Adelanto by GEO and Wellpath
14            “The United States, as sovereign, is immune from suit save as it consents to be
15     sued, and the terms of its consent to be sued in any court define that court’s jurisdiction
16     to entertain the suit.” United States v. Sherwood, 312 U.S. 584, 586 (1941) (citations
17     omitted). Lawsuits against the United States must accordingly be dismissed for lack of
18     subject matter jurisdiction unless the plaintiff can show a waiver of sovereign immunity.
19     United States v. Mitchell, 445 U.S. 535, 538 (1980).
20            The FTCA waives sovereign immunity with respect to tort liability “‘under
21     circumstances where the United States, if a private person, would be liable to the
22     claimant in accordance with the law of the place where the act or omission occurred.’”
23     Chadd v. United States, 794 F.3d 1104, 1108 (9th Cir. 2015) (quoting 28 U.S.C.
24     § 1346(b)(1)). Nonetheless, the FTCA “‘d[oes] not waive the sovereign immunity of the
25     United States in all respects,’” for Congress “‘was careful to except . . . several important
26     classes of tort claims.’” Id. (quoting United States v. S.A. Empresa de Viacao Aerea Rio
27     Grandense (Varig Airlines), 467 U.S. 797, 808 (1984) (hereinafter “Varig Airlines”)).
28     Among these are the contractor exclusion and discretionary-function exception.
                                                    7
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1      28 U.S.C. §§ 2671, 2680(a).
2            The United States is not liable for the acts or omissions of a contractor or
3      sub-contractor unless the United States controls and supervises “‘the detailed physical
4      performance and day to day operations of the contractor.’” Autery v. United States, 424
5      F.3d 944, 956 (9th Cir. 2005) (quoting Hines v. United States, 60 F.3d 1442, 1446 (9th
6      Cir. 1995), abrogated on other grounds by United States v. Olson, 546 U.S. 43 (2005)).
7      The central inquiry is the degree to which the United States controls “the primary
8      activity contracted for and not for the peripheral, administrative acts relating to such
9      activity.” Carrillo v. United States, 5 F.3d 1302, 1305 (9th Cir. 1993).
10           “The United States may ‘fix specific and precise conditions to implement federal
11     objectives’ without becoming liable for an independent contractor’s negligence.” Autery,
12     424 F.3d at 957 (quoting United States v. Orleans, 425 U.S. 807, 816 (1976)); see also
13     id. (“Contractual provisions directing detailed performance generally do not abrogate the
14     contractor exception.”). Similarly, the authority to “‘compel compliance with federal
15     regulation does not change a contractor’s personnel into federal employees,’” nor do
16     “‘[d]etailed regulations and inspections’” or “‘standards that are designed to secure
17     federal safety objectives.’” Id. (quoting Letnes v. United States, 820 F.2d 1517, 1519
18     (9th Cir. 1987) and Hines, 60 F.3d at 1447). Rather, the United States may be liable only
19     where it “direct[s] the actual performance of the contract” by supervising or directing
20     “day-to-day operations.” Id. (emphasis in original).
21           In support of Plaintiff’s negligence, NIED, and IIED claims, Plaintiff alleges that
22     the care and safekeeping of Arellano during his detention were deficient because they
23     failed to shield him from contracting COVID-19 and did not meet his unique medical
24     needs. FAC ¶¶ 106(a), (c) (negligence), 116(a), (c) (NIED), 112-113 (IIED). But as
25     Plaintiff admits (see FAC ¶¶ 19, 27), the United States does not direct the detailed
26     physical performance and day-to-day operations at Adelanto, and the FTCA does not
27     authorize imposing liability for the alleged negligence of federal contractors.
28           The Supreme Court marked this jurisdictional limit in Logue v. United States,
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1      412 U.S. 521 (1973). There, a deputy United States marshal arrested a suspect on a
2      federal bench warrant. Id. at 523. The deputy marshal transported the suspect to the
3      Nueces County jail in Corpus Christi, Texas, “one of some 800 institutions operated by
4      state and local governments that contract with the Federal Bureau of Prisons to provide
5      for the safekeeping, care, and subsistence of federal prisoners.” Id. While housed at the
6      Nueces County jail, the suspect committed suicide, and his parents sued the United
7      States for wrongful death under the FTCA. Id. at 522, 524. The Supreme Court held that
8      the FTCA did not waive the United States’ sovereign immunity for the alleged negligent
9      care and safekeeping provided by the County. Id. at 530 (“The Court of Appeals’
10     conclusion that the deputy marshal had no authority to control the activities of the
11     sheriff’s employees is supported by both the enabling statute [of the Bureau of Prisons]
12     and the contract actually executed between the parties. We agree with its resultant
13     holding that the sheriff’s employees were employees of a ‘contractor with the United
14     States.’”). The Court held that absent a showing of distinct, direct negligence by federal
15     employees involved in the decedent’s care and safekeeping, no jurisdiction could lie
16     under the FTCA. Id. at 532.3
17           Johnson v. United States, No. CIV.A. 4:05CV40, 2006 WL 572312 (E.D. Va.
18     Mar. 7, 2006) is also illustrative. There, the United States Marshals arrested a suspect
19     who later died at the Virginia Peninsula Regional Jail (“VPRJ”) from prostate cancer. Id.
20     at *1. The plaintiff’s estate sued the United States, alleging that the federal government
21
22     3
         See also, e.g., Arora v. United States, 144 F. App’x 627, 628 (9th Cir. 2005) (affirming
23     the dismissal of the plaintiff’s claim that he “received inadequate medical care while he
       was in federal custody” because the plaintiff “failed to provide any evidence that the
24     government had authority over the daily operations of either the New River Valley
       Regional Jail or the Roanoke Memorial Hospital”); Monroe v. U.S. Marshals, 101 F.3d
25     706, 706 (9th Cir. 1996) (unpublished) (holding that “the district court correctly
       concluded that the jail is an independent contractor, and that the United States cannot be
26     held liable for the negligence of jail employees” that caused the plaintiff to develop
       lupus); Carrillo v. United States, 5 F.3d 1302, 1304 (9th Cir. 1993) (holding that the
27     United States was not liable for the negligence of a pediatrician working under contract
       at Madigan Army Medical Center because “neither Madigan nor any other agency of the
28     federal government had any control over [the contractor’s] practice of medicine” or his
       “actions in diagnosing and treating patients”).
                                                      9
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1      “‘wrongfully and negligently failed or refused to provide medical care’” to the decedent
2      and that he died “as a ‘direct and proximate result’ of the United States’ breach of its
3      duty of care.” Id. The court held that it lacked jurisdiction based on the contractor
4      exclusion. Id. at *2. The court reasoned that “the intergovernmental contract required the
5      VPRJ to provide general medical care to the federal prisoners in its custody as well as
6      provide trained jail staff for around the clock supervision including ‘24-hour emergency
7      medical care for prisoners.’” Id. at *4. Although the Marshals “retained the right to
8      perform ‘periodic inspections’ of the VPRJ facility, such inspections do not ‘nullify the
9      general rule’ that the United States is not responsible for the actions of an independent
10     contractor.” Id.
11           The court in Sanchez-Soriano v. United States likewise held that the United States
12     could not be liable for the allegedly deficient care provided to a paraplegic ICE detainee
13     at a detention center operated by Pulaski County, Illinois. See No. 09–cv–500–JPG–
14     PMF, 2011 WL 6217063, at *1, *3-*4 (S.D. Ill. Aug. 2, 2011). The court reasoned that
15     “[t]he FTCA makes clear that a federal agency does not include any contractor with the
16     United States,” and the intergovernmental service agreement between the United States
17     and Pulaski County “g[ave] responsibility for providing care for federal detainees to
18     Pulaski County.” Id. at *4 (finding “no provision” in the intergovernmental service
19     agreement “giving federal employees authority to supervise daily operations at the
20     Tri-County facility”).
21           Here, as in Logue, Johnson, Sanchez-Soriano, and other authorities,4 Arellano’s
22     day-to-day care at Adelanto was the dual responsibility of GEO and Wellpath.
23     Declaration of David Gomez (“Gomez Decl.”) ¶¶ 2–5; Pomplun Decl. ¶¶ 2–13. Plaintiff
24     alleges as much. FAC ¶ 16 (“Defendant GEO is a private prison corporation,
25
       4
26       See supra n. 3; see also, e.g., Bethae v. United States, 465 F. Supp. 2d 575, 580–81
       (D.S.C. 2006) (holding that the United States could not be liable for the death of an
27     asthmatic federal prisoner detained at the Darlington County Detention Center); Esogbue
       v. Dep’t of Homeland Sec., No. 07-6843, 2008 WL 754722, at *6 (E.D. La. Mar. 18,
28     2008) (holding that the United States could not be liable to an ICE detainee who lost his
       property at the Plaquemines Parish Detention Center).
                                                     10
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1      headquartered in Boca Raton, Florida, that operates Adelanto …. Defendant GEO
2      contracts with Defendant ICE to provide detention and medical services at Adelanto.”);
3      id. ¶ 19 (“ICE does not directly provide medical care to all detainees housed within ICE
4      detention centers. Instead, it contracts frequently with private medical contractors.”); id.
5      ¶ 27 (“In February 2016, GEO stopped providing medical care at Adelanto and
6      contracted with Correct Care Solution, the corporate predecessor of Wellpath to provide
7      medical care at the facility.”).
8            Plaintiff’s negligence, NIED, and IIED claims against the United States premised
9      on the care and safekeeping of Arellano at Adelanto must accordingly be dismissed for
10     lack of subject matter jurisdiction pursuant to the contractor exclusion.
11           B.     The Discretionary-Function Exception Bars Plaintiff’s Claims Based on
12                  the United States’ Oversight of GEO and Wellpath, and Selection of
13                  Adelanto as a Detention Facility
14           The discretionary-function exception retains the United States’ sovereign
15     immunity for “[a]ny claim . . . based upon the exercise or performance or the failure to
16     exercise or perform a discretionary function or duty on the part of a federal agency or an
17     employee of the Government, whether or not the discretion involved be abused.”
18     28 U.S.C. § 2680(a). This exception “‘prevent[s] judicial ‘second-guessing’ of
19     legislative and administrative decisions grounded in social, economic, and political
20     policy through the medium of an action in tort.’” Chadd, 794 F.3d at 1108 (quoting
21     Varig Airlines, 467 U.S. at 814); see Begay v. United States, 768 F.2d 1059, 1064 (9th
22     Cir. 1985) (“[I]f judicial review would encroach upon this type of balancing done by an
23     agency, then the exception would apply.”). The Supreme Court devised a two-step test
24     for applying the discretionary-function exception. United States v. Gaubert, 499 U.S.
25     315, 328–34 (1991).
26           First, a court considers whether the challenged conduct is “‘discretionary in
27     nature,’” i.e., if the acts or omissions alleged to be negligent involve “‘an element of
28     judgment or choice.’” Chadd, 794 F.3d at 1108–09 (quoting Gaubert, 499 U.S. at 322).
                                                    11
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1      If there is a statute, regulation, or policy that dictates “‘mandatory and specific action,’”
2      the discretionary-function exception cannot apply because “‘there can be no element of
3      discretion when an employee has no rightful option but to adhere to the directive.’” Id.
4      (quoting Terbush v. United States, 516 F.3d 1125, 1129 (9th Cir. 2008)) (emphasis
5      added).
6            Second, a court considers whether the challenged conduct “is of the type Congress
7      meant to protect” under the discretionary-function exception, i.e., whether it “involves a
8      decision susceptible to social, economic, or political policy analysis.” Ard v. F.D.I.C.,
9      770 F. Supp. 2d 1029, 1035 (C.D. Cal. 2011). It is well established that “[w]hen an
10     agency determines the extent to which it will supervise the safety procedures of private
11     individuals, it is exercising discretionary regulatory authority of the most basic kind.”
12     Varig Airlines, 467 U.S. at 819–20; see In re Consol. U.S. Atmospheric Testing Litig.,
13     820 F.2d 982, 995–96 (9th Cir. 1987) (holding that the failure to supervise a contractor’s
14     compliance with safety procedures fell within the discretionary-function exception);
15     Vallier v. Jet Propulsion Lab., 120 F. Supp. 2d 887, 914 (C.D. Cal. 2000) (finding that
16     the United States “delegated to Caltech the responsibility for waste disposal,” and
17     holding that “the government’s negligent supervision or even total failure to supervise
18     are discretionary decisions protected by the discretionary function exception”), aff’d, 23
19     F. App’x 803 (9th Cir. 2001).5
20
       5
21       See also, e.g., Alinsky v. United States, 415 F.3d 639, 648 (7th Cir. 2005) (“[T]he
       discretionary function exemption protects the government from liability for claims
22     premised on the lack of training, oversight, or qualifications of air traffic controllers,
       since the government acted within its discretion to contract those responsibilities out to
23     Midwest.”); Guile v. United States, 422 F.3d 221, 231 (5th Cir. 2005) (“Supervision of a
       contractor’s work, including the degree of oversight to exercise, is inherently a
24     discretionary function.”); Layton v. United States, 984 F.2d 1496, 1502–03 (8th Cir.
       1993) (holding that claims against the Forest Service for failing to supervise a logging
25     contractor were barred by the discretionary-function exception); Harper v. Lockheed
       Martin Energy Sys., Inc., 73 F. Supp. 2d 917, 922 (E.D. Tenn. 1999) (holding that “[t]he
26     United States’ decision to utilize an independent contractor to insure safety at the
       incinerator, its decision on how to monitor [the contractor’s] actions in complying with
27     various regulations, and the decision by [the United States] to either warn or to not warn
       the public about dangers from the emissions are all policy considerations”); Hagy v.
28     United States, 976 F. Supp. 1373, 1378–79 (W.D. Wash. 1997) (holding that the United
                                                                    (footnote cont’d on next page)
                                                     12
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1            The Supreme Court has emphasized that the discretionary-function exception “is
2      not confined to the policy or planning level” and extends “to the actions of Government
3      agents” taken “in the course of day-to-day activities.” Gaubert, 499 U.S. at 323, 324–25,
4      334. Further, “the decision giving rise to tort liability ‘need not be actually grounded in
5      policy considerations, but must be, by its nature, susceptible to a policy analysis.’”
6      Chadd, 794 F.3d at 1109 (emphasis added) (quoting Miller v. United States, 163 F.3d
7      591, 593 (9th Cir. 1998)). In other words, “‘the focus of the inquiry is not on the agent’s
8      subjective intent’” in exercising discretion, but rather “‘on the nature of the actions taken
9      and on whether they are susceptible to policy analysis.’” Id. (quoting Gaubert, 499 U.S.
10     at 325). Likewise, it is irrelevant whether the actual conduct challenged in a particular
11     case amounted to negligence. 28 U.S.C. § 2680(a); Parsons v. United States, 811 F.
12     Supp. 1411, 1416 (E.D. Cal. 1992) (“‘[N]egligence is simply irrelevant to the
13     discretionary function inquiry’ because § 2680(a) offers immunity ‘whether or not the
14     discretion involved be abused.’”) (quoting Kennewick Irr. Dist. v. United States, 880
15     F.2d 1018, 1029).
16           Plaintiff alleges that the United States negligently failed to: (1) oversee GEO and
17     Wellpath in a particular manner that would have prevented Plaintiff’s contraction of
18     COVID-19; and (2) select detention facilities sufficient to meet Arellano’s unique
19     medical needs. FAC ¶¶ 106(c), (d) (negligence), 116 (c), (d) (NIED). Similarly, Plaintiff
20     alleges that the United States intentionally inflicted emotional distress on Arellano by
21     detaining him “under conditions in which the facilities … were not adequate to meet his
22     medical needs.” FAC ¶ 129. Each of these alleged acts is barred by the discretionary-
23     function exception to FTCA liability.
24           At the first step of the discretionary-function inquiry, Plaintiff fails to identify any
25     mandatory and specific requirement compelling the United States to oversee GEO or
26     Wellpath in a particular different manner designed to prevent Arellano’s contraction of
27
       States’ decision “to delegate safety and warning responsibilities to [an independent
28     contractor] is the type of policy decision the discretionary function exception was
       designed to shield”).
                                                    13
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1      and death from COVID-19 or to provide a detention facility tailored to the alleged
2      unique medical needs of any single detainee. Though Plaintiff alleges that the United
3      States “failed to meet up to [ICE’s Pandemic Response Requirements (“PRR”)] and
4      failed to follow the Centers for Disease Control and Prevention (‘CDC’)’s guidance on
5      COVID-19 management in detention centers,” (FAC ¶ 24) such conclusory averments
6      are insufficient, particularly when they do not explain what the United States supposedly
7      did wrong in this regard, as opposed to GEO. Dichter-Mad Family Partners, LLP v.
8      United States, 709 F.3d 749, 776 (9th Cir. 2013) (per curiam) (holding that “[b]road
9      allegations regarding undefined ‘policies and practices’ are insufficient” to overcome the
10     discretionary-function exception); see also Doe v. Holy See, 557 F.3d 1066, 1084 (9th
11     Cir. 2009) (per curiam) (holding that “a plaintiff must advance a claim that is facially
12     outside the discretionary function exception in order to survive a motion to dismiss”).
13     Tellingly, Plaintiff fails to allege that ICE’s PRR or the CDC’s guidance impose any
14     mandatory and specific requirements on the United States’ oversight or selection of
15     detention facilities that it failed to follow in selecting GEO.
16           As for the second step, it is well established that the selection and supervision of
17     federal contractors involves discretionary judgments “of the most basic kind.” Varig
18     Airlines, 467 U.S. at 819–20; see supra pp. 13-14 & n. 5 (collecting authorities). Courts
19     thus routinely hold that they lack jurisdiction over claims challenging the selection and
20     monitoring of local detention facilities. Arora v. United States, 144 F. App’x 627, 628
21     (9th Cir. 2005); Bethae, 465 F. Supp. 2d at 583 (holding that “the decision of where to
22     house an inmate is subject to public policy analysis”); Sanchez-Soriano, No. 09–cv–
23     500–JPG–PMF, 2011 WL 6217063, at *4 (S.D. Ill. Aug. 2, 2011) (holding that
24     “Sanchez-Soriano’s claim that federal employees breached a duty of care by selecting
25     Tri-County as the place for his detention is barred by the FTCA’s discretionary function
26     exception”); Johnson, No. CIV.A. 4:05CV40, 2006 WL 572312, at *6 (E.D. Va. Mar. 7,
27     2006) (holding that “after concluding that the decision to hire the [contractor] . . . was
28     within the ambit of the discretionary function exception,” any claim that the United
                                                     14
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1      States was negligent in ensuring adequate medical care was not cognizable, as such
2      allegations were “embraced by the overarching decision to engage” the federal
3      contractor); Bernal v. United States, No. SACV 16–02262–CJC(KSx), 2017 WL
4      7833611, at *4 (C.D. Cal. Sept. 21, 2017) (dismissing FTCA claims for negligent hiring,
5      supervision, or retention for lack of subject matter jurisdiction because “ICE’s
6      supervision and training of [Orange County Sheriff’s Department] employees
7      [overseeing day-to-day operations of a detention facility] falls within the discretionary
8      function exception.”). Accordingly, Plaintiff’s negligence and NIED claims that the
9      United States improperly supervised GEO’s and Wellpath’s operations of Adelanto and
10     negligence, NIED, and IIED claims that the United States’ selection of Adelanto as a
11     detention facility was inadequate must be dismissed for lack of subject matter
12     jurisdiction.
13           C.        Plaintiff’s Claims Based on Arellano’s Continued Detention Pending
14                     His Removal Must Be Dismissed for Failure to State a Claim and Are
15                     Also Barred by the Discretionary-Function Exception
16                     1.   Failure to State a Claim
17           Plaintiff asserts that by failing to release Arellano from Adelanto before or after
18     contracting COVID-19, the United States was negligent, negligently and intentionally
19     inflicted emotional distress on Arellano, and falsely imprisoned Arellano. FAC ¶¶
20     106(b), (e) (negligence), 116 (b), (e) (NIED), 112 (IIED), 121 (false imprisonment). But,
21     as an aggravated felon, Arellano’s detention was mandatory, and he could not be
22     released absent a court order. 8 U.S.C. § 1226(c); Nielsen v. Preap, 139 S.Ct. 954, 966
23     (Mar. 19, 2019) (Section 1226(c)(1) “curb[s] the discretion to arrest: The Secretary must
24     arrest those aliens guilty of a predicate offense. And subsection (c)(2) … cut[s] back the
25     Secretary’s discretion over the decision to release: The Secretary may not release aliens
26     ‘described in’ subsection (c)(1)—that is, those guilty of a predicate offense.”); see also
27     Perera v. Jennings, 598 F. Supp. 3d 736, 744 (N.D. Cal. 2022) (“§ 1226(c) does not
28     grant the Attorney General statutory authority to release individuals detained under on
                                                   15
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1      his own accord ….[but] the Court does … have the power to grant petitions for habeas
2      corpus raising as-applied constitutional challenges to that detention without a bond
3      hearing.”), appeal dismissed sub nom. Perera v. Kaiser, No. 22-15898, 2022 WL
4      17587149 (9th Cir. Sept. 21, 2022).
5            While Arellano’s request for temporary restraining order was initially granted, that
6      order was then immediately stayed before his release based on his counsel’s disclosure
7      that he did not have a suitable post-release location. Thereafter, the Court stayed
8      Arellano’s habeas petition because he was a member of the Roman class case and later
9      denied his request to lift that stay. Thus, at no point after his initial detention in April
10     2019 was there a court order requiring Arellano’s release that ICE failed to follow.
11     Because ICE could not release Arellano absent such an order, ICE’s failure to do so
12     cannot constitute the basis of any liability.6
13                  2.     The Discretionary-Function Exception
14           Even if Arellano’s continued detention had been discretionary (which it was not),
15     the United States’ decision to not exercise that discretion to release him before or after
16     his contraction of COVID-19 would be exempted under the discretionary-function
17     exception. See Weissich v. United States, 4 F.3d 810, 814 (9th Cir. 1993) (discretionary-
18     function exception shielded federal agency from FTCA liability for any negligence in
19     supervising probationer); Mirmehdi v. United States, 689 F.3d 975, 984 (9th Cir. 2012)
20     (“[T]he decision to detain an alien pending resolution of immigration proceedings is
21     explicitly committed to the discretion of the Attorney General and implicates issues of
22     foreign policy, and … it falls within [the discretionary] exception.”); Flammia v. United
23     States, 739 F.2d 202, 203 (5th Cir. 1984) (affirming dismissal of FTCA claims pursuant
24     to discretionary-function exception because “the INS has broad statutory discretion to
25     parole into the United States foreign nationals (including discretion to release foreign
26
       6
27      Plaintiff also contends that by releasing Arellano on March 5, 2021, the government
       negligently and intentionally inflicted emotional distress on him. FAC ¶¶ 117, 130.
28     However, Plaintiff alleges that Arellano had suffered “brain death” one week earlier, on
       February 26, 2021. FAC ¶ 7.
                                                   16
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1      nationals from detention), even when they might otherwise be excludable.”) (emphasis
2      added). Thus, even if Arellano’s continued detention had been discretionary, the United
3      States’ decision not to release him could not be the basis of Plaintiff’s FTCA claims.
4            D.     Plaintiff’s Claims Based on the United States’ Alleged Failure to
5                   Communicate Regarding Arellano Must Be Dismissed for Failure to
6                   State a Claim
7            Plaintiff alleges that the United States negligently failed to disclose Arellano’s
8      health condition and hospitalization to his counsel. FAC ¶¶ 104(f) (negligence), 116 (f)
9      (NIED). However, Plaintiff fails to identify any tort duty that required the United States
10     to communicate a detainee’s medical condition or hospitalization to the detainee’s
11     designated representative. Because the United States can only be liable for torts “under
12     circumstances where the United States, if a private person, would be liable to the
13     claimant in accordance with the law of the place where the act or omission occurred” (28
14     U.S.C. § 1346) and no such California law exists here, the United States’ alleged failure
15     to communicate cannot give rise to negligence liability. Accordingly, Plaintiff’s
16     negligence and NIED claims based on the United States’ alleged failure to disclose
17     Arellano’s health condition and hospitalization must be dismissed.
18           Plaintiff also alleges IIED based on the United States’ failure to communicate
19     regarding Arellano’s condition and death. FAC ¶ 130. Plaintiff’s IIED claim based on an
20     alleged failure to communicate about Arellano’s death fails because the deceased
21     Arellano could not have suffered emotional distress from the alleged conduct. Plaintiff’s
22     IIED claim based on failure to communicate regarding Arellano’s condition also fails
23     because Plaintiff failed to allege the United States acted intentionally or with reckless
24     disregard of the probability of causing emotional distress, a requisite element of IIED.
25     Coon v. Joseph, 192 Cal. App. 3d 1269, 1273 (Cal. Ct. App. 1987) (“Intentional
26     infliction of emotional distress requires conduct which is especially calculated to cause
27     and does cause the claimant mental distress of a very serious nature.”) (emphasis in
28     original). While Plaintiff alleges that the United States “actively conceal[ed]” Arellano’s
                                                    17
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1      condition (FAC ¶ 130), such conduct is not directed towards Arellano, as required. See
2      Christensen v. Superior Ct., 54 Cal. 3d 868, 903 (1991) (To recover for IIED, “[t]he
3      defendant must have engaged in ‘conduct intended to inflict injury or engaged in with
4      the realization that injury will result.’ …. It must be conduct directed at the plaintiff, or
5      occur in the presence of a plaintiff of whom the defendant is aware.”) (quoting Davidson
6      v. City of Westminster, 32 Cal. 3d 197, 210 (1982)). Thus, Plaintiff fails to plead a valid
7      IIED claim based on any alleged failure to communicate.
8            E.     Plaintiff’s Wrongful Death Claim Must Be Dismissed Because It Is
9                   Derivative of Plaintiff’s Failed Claims and Plaintiff Lacks Standing
10           Plaintiff’s wrongful death claim is premised on his other claims for “negligence,
11     wrongful acts, conduct, and omissions” of the United States. Because each of Plaintiff’s
12     claims fails for the reasons above, Plaintiff’s derivative wrongful death claim also fails.
13     IV.   CONCLUSION
14           For the foregoing reasons, the United States respectfully requests that the Court
15     dismiss Plaintiff’s First Amended Complaint as to the United States with prejudice.
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1                              Certificate of Compliance under L.R. 11-6.2
2            The undersigned, counsel of record for Defendant the United States of America
3      certifies that this brief contains 6,196 words, which complies with the word limit of L.R.
4      11-6.1.
5       Dated: June 29, 2023                  Respectfully submitted,
6                                             E. MARTIN ESTRADA
                                              United States Attorney
7                                             DAVID M. HARRIS
                                              Assistant United States Attorney
8                                             Chief, Civil Division
                                              JOANNE S. OSINOFF
9                                             Assistant United States Attorney
                                              Chief, Complex and Defensive Litigation Section
10
11                                               /s/ Shaina C. St John
                                              SHAINA C. ST JOHN
12                                            Assistant United States Attorney
13                                            Attorneys for Defendant
                                              the United States of America
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